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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


GLOBAL MERCHANDISING SERVICES LTD.,

       Plaintiff,
                                                             Case No.: 1:18-cv-5953
v.
                                                             Judge John Z. Lee
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,                     Magistrate Judge Michael T. Mason

       Defendants.

                                SATISFACTION OF JUDGMENT

        WHEREAS, a judgment was entered in the above action on October 25, 2018 [43] and

 November 15, 2018 [53], in favor of Plaintiff and against the Defendants Identified in Amended

 Schedule A. Plaintiff acknowledges payment of an agreed upon damages amount, costs, and

 interest and desires to release this judgment and hereby fully and completely satisfy the same as

 to the following Defendants:

              NO.                             DEFENDANT
               420                             sdtaoshengjiu
               303                               liguilin2
               444                                sodaidai
               145                              can2013912
               295                             Kobalter Deal
               599                           Zhaoton17335910
               177                                Di6JD
               311                             lingeafeycups
               433                              shuixiustore
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       THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.




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